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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                          )
                                                    )
                               Plaintiff,           )
                                                    )
                          v.                        )       No. 1:09-cr-00008-SEB-MJD
                                                    )
 SELVIN SILVESTER DOUGLAS,                          ) -01
                                                    )
                               Defendant.           )

                  ORDER ADOPTING REPORT AND RECOMMENDATION

           Having reviewed Magistrate Judge Paul R. Cherry’s Report and Recommendation that

 Douglas’ supervised release be revoked, pursuant to Title 18, U.S.C. §3401(i) and Rule

 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, the Court now

 approves and adopts the Report and Recommendation as the entry of the Court, and orders a

 sentence imposed of imprisonment of twenty-four (24) months with no supervised release to

 follow.

           SO ORDERED.


                       5/5/2021
           Date: ______________________            _______________________________
                                                    SARAH EVANS BARKER, JUDGE
                                                    United States District Court
                                                    Southern District of Indiana
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